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Acknowledgment - Sentencing Options and Supervision Conditions


                            UNITED STATES DISTRICT COURT
                                 District of New Hampshire
        UNITED STATES OF AMERICA


                       V.                                        ACKNOWLEDGMENT

                Rhonda Simpson                              Case Number: 1:23CR00012-1-PB
                    Defendant


        I, Rhonda Simpson, acknowledge that I have received, reviewed and understand the proposed Sentencing
Options and Supervision Conditions filed by the U.S. Probation Office in this case.


Date;
         la -

                                                      Defense Counsel

cc: Defendant
    U.S. Attorney
    U.S. Marshal
    U.S. Probation
    Defense Counsel




USDCNH-103 (10-14)
